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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF
                                ILLINOIS EASTERN DIVISION

   DEMETRIUS JOHNSON                                   )
                                                       )    Case No. 20 CV 4156
                 Plaintiff,                            )
                                                       )    Judge Sara L. Ellis
            v.                                         )
                                                       )    Magistrate Judge Heather K. McShain
   REYNALDO GUEVARA, et al.                            )
                                                       )
                 Defendants.                           )     JURY TRIAL DEMANDED
                                                       )




  DEFENDANTS’ UNOPPOSED MOTION TO EXTEND EXPERT DISCOVERY AND
              SUMMARY JUDGMENT BRIEFING SCHEDULE

       Defendants, Reynaldo Guevara, Darryl Daley, Geri Lynn Yanow, as special representative

for William Erickson (deceased), Ernest Halvorsen (deceased), John Healy (deceased), and The

City of Chicago, together through their undersigned counsel, respectfully move this Court for an

extension of time to complete expert discovery. In support of this motion, Defendants state as

follows:

       1.        On January 16, 2023, this Court set a schedule for expert discovery as well as a

briefing schedule on Defendants’ anticipated motion for summary judgment. (Dkt. 204).

       2.        Subsequently, on February 27, 2023, Plaintiff sought additional time to provide his

expert reports. (Dkt. 217).

       3.        Accordingly. on March 8, 2023, Plaintiff disclosed three expert witnesses; (1)

Thomas Tiderington, a police procedures expert and Monell expert opining on evidence

suppression; (2) Dr. Jennifer Dysart, an eyewitness identification expert opining on the

identification procedures used in the criminal investigation; and (3) Dr. Nancy Steblay, a Monell
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expert opining on the rate at which eyewitnesses made suspect identifications.

       4.      Pursuant to the current schedule set in Dkt. 204, Defendants are to depose these

experts by May 1, 2023.

       5.      Although Plaintiff provided Defendants with dates of availability for the deposition

of these expert witnesses, due to scheduling conflicts, including a myriad of expert depositions

already scheduled and deadlines in other Guevara related cases, Defendants were simply unable

to accommodate the dates proposed.

       6.      The first available date for all Parties for Defendants to depose Mr. Tiderington is

May 9, 2023, which has been confirmed. The Parties are working to finalize dates for Dr. Dysart

and Dr. Steblay as well.

       7.      Thus, Defendants request that the expert schedule for the remaining deadlines be

extended as set forth below:

            a. 6/5/2023 – Defendants to depose Plaintiff’s experts.

            b. 7/12/2023 – Defendants’ expert disclosures due.

            c. 8/21/2023 – Plaintiff’s to complete Defendants’ expert depositions.

       8.      Furthermore, this shift in the expert schedule requires the summary judgment

schedule to be shifted as well. Accordingly, Defendants’ request the remaining summary judgment

schedule as set forth below:

            a. 9/20/2023 – Defendants’ motion for summary judgment

            b. 10/20/2023 – Plaintiff’s response to Defendants motion for summary judgment.

            c. 11/10/2023 – Defendants’ reply in further support of their motion for summary

               judgment.

       9.      Defendants have conferred with Plaintiff’s counsel and they do not oppose this
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motion or the adjustment to the schedule.

       WHEREFORE, Defendants respectfully request that this Court grant this Motion and

extend the expert discovery schedule and summary judgment schedule, as set forth above, and for

any other relief as this Court deems just and reasonable.

 DATE: May 1, 2023                                Respectfully Submitted,

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 Special Assistant Corporation Counsel for        Special Assistant Corporation Counsel for
 Defendant City of Chicago                        Defendant Individual Officers

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